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     CALIFORNIA STATE BAR NUMBER 123357
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 5   ATTORNEY FOR DEFENDANT
     LIBORIO RUIZ LOPEZ, JR.
 6
 7
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                            EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )                  CR.-S-03-362-GEB
                                         )
11         PLAINTIFF,                    )                  STIPULATION AND PROPOSED ORDER
                                         )                  TO CONTINUE STATUS CONFERENCE
12         v.                            )
                                         )
13   LIBORIO RUIZ LOPEZ, JR.,et al.,     )
                                         )
14                                       )
           DEFENDANTS.                   )
15   ____________________________________)
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Phillip A. Talbert, and defendant Liborio Ruiz Lopez, Jr., by his counsel James R. Greiner, hereby
18
     stipulate and agree that the status conference calendared for Friday, July 28 2006, at 9:00 a.m.
19
     before the Honorable District Court Judge Garland E. Burrell, Jr. shall be continued to Friday,
20
     September 29, 2006, at 9:00 a.m.
21
            Time can be excluded from both the speedy trial act and the Sixth Amendment right to a
22
     speedy trial due to the fact that the government and the defendant are continuing in the process of
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     discussions and negotiations in a good faith effort and attempt to resolve this matter short of trial;
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     the discussions are progressing and in good faith, both parties have exchanged proposals to resolving
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     the matter and those are being considered by both sides; the government and the defense continue to
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     have discussions regarding this case and have had face to face meetings which were very productive
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28                                                      1
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 1   and both sides are diligently working toward a resolution in this case short of trial; the additional
 2   time is needed to move to resolve the case; investigation by the parties is on going during the good
 3   faith efforts at negotiating a resolution short of trial; the parties have been sharing information and
 4   continue to share information in the on going good faith efforts at resolving this matter; when new
 5   information is presented it is being investigated by both sides; Offers and counteroffers are
 6   continuing to be made by both parties and both parties are continually in good faith negotiations over
 7   the proposals.
 8          The parties stipulate and agree that time shall be excluded through Friday, September 29,
 9   2006, under Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4.
10                                          Respectfully submitted,
11                                          McGREGOR W. SCOTT
                                            UNITED STATES ATTORNEY
12
                                            /s/ PHILLIP A. TALBERT by in person authorization
13
     DATED: 7-27-06                         _____________________________________
14                                          PHILLIP A. TALBERT
                                            ASSISTANT UNITED STATES ATTORNEY
15                                          ATTORNEYS FOR THE PLAINTIFF
16                                          /s/ JAMES R. GREINER
     DATED: 7-27-06                         _____________________________________
17                                          JAMES R. GREINER
                                            ATTORNEY FOR DEFENDANT LOPEZ, JR.
18
19                                                   ORDER
20          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
21   Dated: July 27, 2006
22
                                                    /s/ Garland E. Burrell, Jr.
23                                                  GARLAND E. BURRELL, JR.
                                                    United States District Judge
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